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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                FORT WORTH DIVISION

                                               §
TEXAS, et al.,                                 §
                                               §
         Plaintiffs,                           §
                                               §
v.                                             §
                                               §
UNITED STATES OF AMERICA, et                   §           Civil Action No. 4:18-cv-00167-O
al.,                                           §
                                               §
         Defendants,                           §
                                               §
CALIFORNIA, et al.,                            §
                                               §
         Intervenor-Defendants.                §
                                               §
                                             ORDER

         Before the Court is Plaintiffs’ Application for Preliminary Injunction (ECF No. 39), filed

April 26, 2018. The Court sets this matter for oral hearing on Monday, September 10, 2018, at 9:30

a.m. in the Second Floor Courtroom of the Eldon B. Mahon United States Courthouse, located at

501 W 10th Street, Fort Worth, Texas.

         SO ORDERED on this 14th day of August, 2018.




                                                  _____________________________________
                                                  Reed O’Connor
                                                  UNITED STATES DISTRICT JUDGE
